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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO


 In re                                     Bankruptcy No.

 ORLANDO CORDOVA                           16-01368 (MCF)

 Debtor                                    Chapter 13


   MOTION OPPOSING MOTION TO CONVERT CHAPTER 13 CASE TO A
     CASE UNDER CHAPTER 7 (DOCKET #15) FILED BY EMPRESAS
            PUERTORRIQUEÑAS DE D0ESARROLLO INC.


 TO THE HONORABLE COURT:
 COMES NOW, Debtor, through its undersigned attorney and respectfully states
 and prays as follows:
    1. The motion is premature.
    2. Defendant made an emergency filing and later proceeded to present the
         corresponding bankruptcy forms.
    3. Debtor has a steady source of income, which would allow him to file a plan
         and make the corresponding payments.
    4. Debtor has consumer debt which must be attended to including a car loan.
    5. Empresas Puertorriqueñas de Desarrollo Inc. (“Empresas”) does not have a
         final judgment in the case filed against Debtor in the Civil Case No.
         GPE2014-0160 (302) filed before the Puerto Rico First Instance Court,
         Guayama Part, Empresas Puertorriqueñas de Desarrollo Inc. v. OJCINV INC.,
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          Orlando J. Cordova, et als. (regarding an eviction proceeding and the
          collection of money).
    6. Empresas comes before this Honorable Court with unclean hands as it did
          not wait for the judgment to become final.
    7. The standing of Empresas is disputed and so is the amount claimed in the
          judicial proceeding that lacks a final and executable judgment. This is a
          matter to be discussed at a hearing.
    8. There is an Individual Debtor Interview to be set by Trustee Carrion’s office.
    9. Converting the case to a Chapter 7 would be detrimental to creditors as
          they would most likely receive less money under a Chapter 7.
    10.In light of the above mentioned arguments, the Motion for Conversion to
          Chapter 7 (Docket #15) should be denied.

    WHEREFORE, the debtor herein requests this Honorable Court enter an Order
 against Empresas’ Motion for Conversion to Chapter 7 (Docket #15) and maintain
 this case as a Chapter 13 case.
                                   CERTIFICATE OF SERVICE
    We certify that on this date, I electronically filed the foregoing with the Clerk
 of the Court using the CM/ECF System. All other parties have been notified
 through the U.S. Postal Service.
                                          NOTICE
    Within fourteen (14) days after service as evidenced by the certification, and
 an additional three (3) days pursuant to Federal Rule of Bankruptcy Procedure
 9006(f) if you were served by mail, any party against whom this paper has been
 served, or any other party to the action who objects to the relief sought herein,
 shall serve and file an objection or other appropriate response to this paper with
 the Clerk’s office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no
 objection or other response is filed within the time allowed herein, the paper will
 be deemed unopposed and may be granted unless: (i) the requested relief is
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 forbidden by law; (ii) the requested relief is against public policy; or (iii) in the
 opinion of the Court, the interest of justice requires otherwise.
          RESPECTFULLY SUBMITTED in San Juan, Puerto Rico on April 13, 2016.


                                        s/ Joselyn M. Ramírez
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